                  Case 3:24-cv-00122-BAJ-RLB           Document 29       04/17/24 Page 1 of 2




                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA


            IN THE MATTER OF RETENTION OF GENERAL ORDER
            SEALED DOCUMENTS FOLLOWING
            THE CLOSURE OF A CASE RECORD NO. 2019- 4


                                                GENERAL ORDER

                   IT IS ORDERED that all pleadings and other papers filed under seal in civil and

            criminal actions shall be maintained under seal for thirty days following final disposition

            of the action. After that time, all sealed pleadings and other papers shall be placed in the

            case record unless a District Judge or Magistrate Judge, upon motion and for good cause

            shown, orders that the pleading or other paper be maintained under seal. The following

            pleadings and other papers are excluded from this order and shall remain under seal:


                  Grand Jury proceedings and any pleading related thereto, including Grand Jury
                  testimony;
                  Statement of Reasons;
                  Character Letters;
                  5K1.1 Motions and any pleading related thereto;
                  Psychiatric Reports and Medical Records;
                  Sentencing Memoranda and any pleading related thereto;
                  Proposed pleadings that have been denied leave of court to be filed;
                  Unredacted Indictments (which contain the Jury Foreperson's name/signature);
                  Sealed P!ea Agreement Supplements shall remain under seal pursuant to
                  Genera! Order 16-14;
                  Sealed court records identified En General Order 07-08 shall remain sealed in
                  accordance with said order.



                   IT IS FURTHER ORDERED that the Clerk of Court is directed to file this General

            Order in the record of all civil and criminal cases upon the issuance of a final judgment or

            dismissal.




District Court
      Case 3:24-cv-00122-BAJ-RLB           Document 29       04/17/24 Page 2 of 2




       IT IS FURTHER ORDERED that the deadline for filing any motions regarding the

unsealing of any document shall be within thirty days of the final disposition of any action

and shall contain a concise statement of reasons for maintaining the pleading or other

paper under seal.

       IT IS FURTHER ORDERED that General Order Number 93-1 is hereby

VACATED.


                                                    ^
                    Baton Rouge, Louisiana, this 0 day of^V^-t^/ _ 2019.




                                                                         A^^c^
                                                 SHELLY D. DICX/CHIEF JUDGE
                                                 MIDDLE DISTF^rtT OF LOUISIANA
